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EXH|B|T A

EXHIBIT A

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STATE OF NEW YORK
SUPREME COURT :: COUNTY OF OR.ELANS

 

NICHOLAS A. LONG SUMMONS
2997 Brown Road
Albion NY 14411

Plaintiff

Vs

COUNTY OF ORLEANS
Courthouse Square
Albion NY 14411

ORLEANS COUNTY SHERIFF’S DEPARTMENT
. 13925 NY Route 31 #400
Albion NY 14411

SHERIFF RANDY BOWER INDEX NO. 18-44801

In His Off'lcial Capacity _ ., .-'.'-
13925 NY Route 31 #400
Albion NY 14411

UNDERSHERIFF CHRISTOPHER M. BOURKE,
ln His Oflicial Capacity

13925 NY Route 31 #400

Albion NY 14411

 

Defendants

 

'l`o the above-named Defendants:

YOU ARE HEREBY SUMMONED to serve a notice of appearance on the plaintiffs
attorney within twenty (20) days aher service of this summons, exclusive of the day of service,
where service is made by delivery upon you personally within the state, or Within thiny (30) days
after completion of service, where service is made in any other‘manner. In case of your failure to
appear or answer, judgment will be taken against you by default for the relief demanded in the

notice set forth below.

Plaintiff designates Orleans County as the plaeeo/f ial based upon the location of the
Subject of action. __.

  

Dated: Scptember 2018
ILL & V A,L.L.P.

Geo e~~ . C. Museato, of counsel
Attorneys for Plaintiff

107 East Avenue

Lockport, New York 14094

(716) 434-9177 `

 

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STATE OF NEW YORK: COUNTY OF ORLEANS
SUPREME COURT

 

NICHOLAS A. LONG
Plaintiff COMPLAINT

~VS.-

COUNTY OF ORLEANS
ORLEANS COUNTY SI-IERIFF'S OFFICE

 

SHERIFF RANDY BOWER and

UNDERSHER]FF CHISTOPHER M. BOURKE, INDEX NO. 18-44801
In Their 0fficial Capacity

Defendants

 

The Plaintif`f, NICHOLAS A. LONG, by his anomey, GEORGE V. C. MUSCATO,
ESQ., for his Complaint against the Defendants, COUNTY OF ORLEANS, ORLEANS
COUNTY SHERIFF'S OFFICE, SHER.IFF RANDY BOWER and UNDERSHERIFF

CHR_ISTOPHER M. BOURKE, ln Their Officia.l Capaeity, alleges the following:

1. The Plaintiff is a resident of 2997 Brown Road, Town of Albion, County of

Orleans and State of New York 1441 l.

2. T he Defendant, County of Orleans is a municipal corporation duly organized and

existing under laws of the State of New York.

3. That Defendant, Sheriff Randy Bower is the duly elected Sherifl` of the County of

Orleans.

4. That Defendant, Undersheriff Christopher M. Bourke, is the Undersheriff in the

County of Orleans Sheriff’s Department and an employee thereof.

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5. That the Sherifl’s Departmeni is located in the Public Safety Building at 13925
Route 31 in the Town of Albion, Orleans County, New York.

6. On June 20, 2017, Plaintiff Long‘ went to the Orleans County Sheriff’s
Department to follow-up on a complaint filed against another Orleans Ccunty Investigator.

7. On said date, Plaintiff engaged in a conversation with Defendant Sheriff Bower.

8. That during this conversation the Defendant-Sheriff demanded that the Plaintiff
leave the building.

9. That as Plaintiff was leaving the Publie Safety Building, Defendant Undersheriff
Bourke proceeded after Plaintii`f, physically throwing Plaintiff to the ground; placing his knee in
his back, twisting his aims behind his backg applying handcuffs and placing Plaintiff under arrest
for disorderly conduct, resisting arrest, and government obstruction of justice

10. Plaintiffwas taken into custody and was released after his arraignment

ll. T he charges against the Plaintiff Were subsequently dismissed
Plaintiff duly filed a Supplemental Notice of Claim on August 6, 2018, pursuant

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on

to Court Order dated July 20, 2018, and filed in the Orleans County Clerk’s Offiee on the ls‘ day

of August, 2018.
13. That a General Municipal Law §SOh hearing of the Plaintiff was conducted/on

August 15 and August 21, 2018.

14. That more than.30 days have elapsed since such service of Supplemental Notice

of Claim and payment thereof has been refused

AS AND FOR A FlRST CAUSE OF ACTION AGAINST
THE COUNTY OF ORLEANS AND DEFENDANT BOURKE

15. The Plaintiff repeats and rea.lleges the facts and allegations as contained in

Paragraphs l through l4.

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16. The acts of the Defendant, UNDERSHERIFF BOURK_E, constituted an assault
upon the Plaintiff causing injury to the Plalntiff.

17. The actions of the Defendant, UNDERSHER]FF BOURKE, were intentional,
reckless and unwarranted and without any just cause or provocation

18, As a result of the acts of Defendant, UNDERSHER!FF BOURKE, the Pla.intiff
became and remains sick, sore, lame and disabled, sustained serious injuries was incapacitated
from attending to his usual duties and sustained loss of enjoyment of his life.

19. The injuries sustained by Plaintit`t` were caused solely by the reason of the conduct

of Defendant, and Plaintifl` did not contribute thereto.

AS ANI) FOR A SECOND CAUSE OF ACTION AGAINST
THE COUNTY OF ORLEANS AND DEFENDANTS BOWER & BOURKE

20. The Plaintiff repeats and realleges the facts and allegations as contained in

Paragraphs l through 19.
71 The Defendants, BOWER AND BOURKE, conduct resulted in the false

imprisonment of the Pla.intiff.

22. The Plaintiff was handcuffed and confined until his arraignment

2.3. The Plaintiff was aware of his confinement Which result in substantial physical
and emotional and mental suffering and loss of enjoyment of life.

AS AND FOR A THIRD CAUSE OF ACTION AGAlNST
THE COUNTY OF ORLEANS AND DEFENDANTS BOWER & BDURKE

24. The Plaintiff repeats and realleges the facts and allegations as contained in

Paragraphs l through 23.
25. The Defendants, COUNTY OF ORLEANS, ORLEANS COUNTY SHERIFF'S

OFFICE, SHERIFF RANDY BOWER and UNDERSHER.IFF CHRISTOPHER M. BOURKE,

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In Their Of`ticial Capacity conduct result in the negligent infliction of emotional distress upon

Plaintiff.

26. In assaulting and falsely imprisoning Plaintiff, the Defendants’ conduct resulted in

traumatic event, which caused Plaintiff to fear for his safety.

AS AND FOR A FOURTH CAUSE OF ACTION AGAINST
THE COUNTY DF ORLEANS AND DEFENDANTS BOWER & BOURK_E

27. The Plaintiff repeats and realleges the facts and allegations as contained in

Paragraphs l through 26.

28. In engaging in the conduct described by assaulting and falsely imprisoning the
Plaintiff, Defendants deprived Plaintiff of his civil rights pursuant to 42 USCA 1983, which
Defendants acted under the color of law.

29. The aforesaid misuse of authority was egregious causing the Plaintiff humiliation
and indignities.

30. As a result of the foregoing, Plaintiff has sustained general and special damages in

an amount which exceeds the jurisdictional limits of all lower courts which would otherwise

have jurisdiction

WHEREFORE, Plaintiff requests that Defendants COUNTY OF OR.LEANS, ORLEANS
COUNTY SHERIFF'S OFFICE, SHERIFF RAND`Y BOWER and UNI`)ERSHERIFF-

CHRISTOPHER M. BOURKE, In Their Ofiicial Capaeity, Compensate him for his injuries and

   
 
 

   

expenses; and for such other and further relief as t ourt may seem just and proper.

 

 

GEO GE . C. MUSCATO, of counsel
Attorneys for Plaintiff

107 East Avenue

Locl<port NY 14094

(716) 434-9177

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TO: WEBSTER SZANYI, LLP
Shannon B. O’Neill, of counsel
Attorneys for Defendants
1400 Liberty Building
Buffalo NY 14202

VERIFICATION

STATE OP NEW YORK }

} SS:
COUNTY OF NIAGARA }

NICHOLAS A. LONG, being duly swom, deposes and says that he is the Plaintiff
in the above-entitled action; that he has read the foregoing Complaint and knows the contents
thereof and that the same is true to his own knowledge except as to matters therein stated to be
alleged on information and helicf, and as to those matters, he believes it to be true.

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